           Case 1:19-cv-06631-GHW Document 76 Filed 11/06/20 Page 1 of 2
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                                                                      ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                      DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                      DATE FILED: 11/6/20
------------------------------------------------------------------X
JOSEPH SPADAFORA and GUDELIA LEVINE, :
                                                                  :
                                                    Plaintiffs, :
                                                                  :       1:19-cv-6631-GHW
                              -against-                           :
                                                                  :            ORDER
THE STANDARD FIRE INSURANCE                                       :
COMPANY,                                                          :
                                                                  :
                                                 Defendant. :
------------------------------------------------------------------X


GREGORY H. WOODS, United States District Judge:
         A jury trial in this matter will begin on February 9, 2021 at 9:00 a.m. The jury trial will be

held in the United States District Court for the Southern District of New York, Daniel Patrick

Moynihan U.S. Courthouse at 500 Pearl Street, New York, New York 10007, in a courtroom to be

identified closer to trial.

         The Court will hold a final pretrial conference in this case on December 16, 2020 at 9:00

a.m. The final pretrial conference will be held via conference call. The parties are directed to use

the conference call dial-in information and access code noted in the Court’s Emergency Rules in

Light of COVID-19 available on the Court’s website, and are specifically directed to comply with

Emergency Rule 2(C).

         The parties are directed to submit the following materials no later than November 16, 2020,

all of which were previously due but not completed by October 19, 2020: (1) the parties’ joint

pretrial order, including all deposition designations and trial exhibits, (2) hard and electronic copies

of all trial exhibits, (3) joint proposed voir dire questions, (4) a joint proposed verdict form, (5) a

proposed brief, mutually acceptable description of the case, to be read to the venire, and (6) a

proposed brief, mutually acceptable overview of the applicable law, to be read to the jury as part of

the Court’s initial instructions prior to opening statements.
         Case 1:19-cv-06631-GHW Document 76 Filed 11/06/20 Page 2 of 2



        The Court will hold a hearing regarding the parties’ motions to exclude the expert testimony

of Cymbrid Hughes, Jesse Lowell, and Edward Glaser, Dkt. Nos. 47, 50, on December 10, 2020 at

9:00 a.m. The hearing will be held in Courtroom 12C of the United States District Court for the

Southern District of New York, Daniel Patrick Moynihan U.S. Courthouse at 500 Pearl Street, New

York, New York 10007, although the Court will consider any application by the parties to hold the

hearing via remote means. All three proffered experts are expected to testify. Any replies in support

of the motions to exclude are due no later than November 13, 2020.

        Defendant’s opposition to Plaintiff’s motion in limine, Dkt. No. 66, and Defendant’s reply in

support of its motion for leave for witnesses to testify remotely at trial, Dkt. No. 60, are due no later

than November 13, 2020. Plaintiff’s reply in support of his motion in limine, if any, is due no later

than November 17, 2020.

        SO ORDERED.

 Dated: November 6, 2020                             _____________________________________
 New York, New York                                           GREGORY H. WOODS
                                                             United States District Judge




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